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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


RATES TECHNOLOGY INC.,

                       Plaintiff,

               v.
                                              CIVIL ACTION
BROADVOX HOLDING COMPANY, LLC,
                                              NO. 13-152 (SAS)(SN)
CYPRESS COMMUNICATIONS OPERATING
COMPANY, LLC and ABC COMPANIES
1 to 10,

                       Defendants.




                    PLAINTIFF RATES TECHNOLOGY INC.’S
                      REPLY CLAIM CONSTRUCTION BRIEF
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         Plaintiff Rates Technology Inc. (“RTI”), in accordance with Local Patent Rule 12,

replies in further support of its principal claim construction brief. (Dkt. No. 84, RTI’s

Br.) 1


         I.     PROCEDURAL ISSUES IMPACTING CLAIM CONSTRUCTION

         Defendants’ submission reinforces RTI’s position that claim construction at this

juncture is premature because RTI has not been given discovery as to the accused system,

and hence any claim construction lacks sufficient context. In their Answering Brief,

Defendants amend several of their proposed constructions. (Compare e.g., Dkt. No. 93,

Def. Br. 15, 23, 29 with Dkt. No. 70, Joint Claim Terms Chart) Defendants’ shifting

positions reflect, just as RTI has previously explained, that claim construction at this

stage is premature because it is an abstract exercise, wholly removed from the context of

the issues of the case.

         By way of background, the patents-in-suit concern the routing of calls according

to cost: least-cost routing. Defendants’ accused system is not publicly available for

inspection. Prior to suit RTI asked for a confidential disclosure needed to assess whether

there has been patent infringement, but was rebuffed. Because RTI could not otherwise

obtain the information needed to fully assess infringement, RTI filed its complaint and

therein notified the Court that it required discovery, just as provided by Rule 11(b)(3) and

Federal Circuit precedent, Hoffman-La Roche Inc. v. Invamed Inc., 213 F.3d 1359, 1364




1
 Defendants’ attempt to transform its claim construction brief into a brief supportive of a
Rule 11 claim, based on yet a third and new theory, is inappropriate and should be struck.
(Def. Br. 2-3) As such, RTI is not responding directly to Defendants’ new Rule 11
argument herein, unsupported and premature as it is.


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(Fed. Cir. 2000) and Cambridge Prods. Ltd. v. Penn Nutrients, Inc., 962 F.2d 1048, 1050

(Fed. Cir. 1992). (Dkt. No. 26)

       The minimal discovery produced has failed to provide any meaningful disclosure

of Defendants’ system. 2 RTI (and hence the Court) is simply in the dark about the

details of Defendants’ least cost routing system. At this juncture, there is simply no way

for RTI or this Court to know what aspects of any portion of the claim may ultimately be

in dispute.

       Where the accused product is a known item prior to suit, early claim construction

promotes efficiency. But where an accused system operates in secrecy, any claim

construction before meaningful discovery results in inefficiency and errors. “Without

knowledge of the accused products” — as here — the court “lacks a proper context for an

accurate claim construction.” Lava Trading, Inc. v. Sonic Trading Mgmt., LLC, 445 F.3d

1348, 1350 (Fed. Cir. 2006); see Wilson Sporting Goods Co. v. Hillerich & Bradsby Co.,

442 F.3d 1322, 1330 (Fed. Cir. 2006) (“[T]he legal function of giving meaning to claim

terms always takes place in the context of a specific accused infringing device or



       2
          About 5 months into this lawsuit, Defendants stated, for the first time, that they
used some secret, custom solution called “Pulse Voice.” (Dkt. No. 52) But RTI’s ability
to discover the details of this system have been stymied by Defendants’ production and
several rulings of the Court. Because Defendants’ Rule 12(b)(6) motion to dismiss was
pending until November 1, 2013, under the Pilot Rules, made applicable to this case,
neither depositions nor interrogatories could be taken. RTI twice asked the Court for an
exception to this rule, and was twice denied.
        Furthermore, Magistrate Judge Netburn limited discovery to only the “Pulse
Voice” related documents. That production was misleadingly voluminous. It simply
failed to shed any light on the details of Defendants’ system. As RTI wrote to Judge
Netburn, it needs deposition discovery to ascertain the details of the system and whether
there are additional documents that Defendants have failed to produce.
        Under the Scheduling Order, fact discovery ended on November 1, 2013. RTI
will request that this period be extended and that it be allowed to conduct discovery
(including deposition discovery) to learn the details of Defendants’ system.


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process.” Vacating and remanding claim construction as “the record . . . contains no

description of the accused infringing devices,” the “court cannot fully and confidently

review . . . claim construction . . .”)(emphasis added).

        For these reasons, RTI submits that claim construction should be deferred until

RTI is provided with sufficient discovery to understand the operation of Defendants’

accused system. RTI reserves the right to resolve additional and continuing issues of

claim construction after it has obtained requested discovery directed to the accused

systems if the Court disagrees and proceeds with a construction.


        II.    DEFENDANTS’ FUNDAMENTAL ERRORS
               IN CONSTRUING CLAIMS

        As Defendants recognize, “RTI devotes a significant portion of its [opening claim

construction] brief to arguing that claims are construed as would a skilled artisan.” (Def.

Br. 3) In RTI’s opening brief, the meaning of each disputed claim language is explained

from the viewpoint of a person having ordinary skill in the art, who has studied the entire

record, including the claims, the specification, and the history. For this viewpoint, RTI

relied upon the expert declaration of Mr. Bradley Walton, a degreed electrical engineer

who — at the time of these inventions and thereafter — worked in the field of these

inventions. (Walton 2-6, Exh. A) 3

        Defendants complain that Mr. Walton — the only expert of record — provided

conclusions “without any analysis or reference to prior art” (Def Br. 12), which is


3
 References to the expert declaration of Bradley Walton will be to the declarant’s
surname followed by the cited paragraph of the declaration. References to selected
excerpts of the prosecution history attached as an appendix to Defendants’ Answering
Brief will be by the term “A-” followed by page number. The entire prosecution history is
available on the Patent Office website.


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puzzling because Mr. Walton’s declaration is chock full of both. The patents-in-suit were

both filed in the mid-1990s. In providing examples of each of the classes of structures

available at the time of invention that a person having ordinary skill in the art would

understand as is described in both the claims and specifications, Mr. Walton specifically

cited both the prior art, including classes of structure he actually used at that time, and

references describing the prior art, see Walton exhibits:

   B.   American Heritage Dictionary Third Edition (1994)
   D.   Newton’s Telecom Dictionary (1994)
   E.   Wikipedia, Current Source
   F.   Current Sources & Voltage References by Linden Harrison (2005)
   G.   Rogue Wave Standard C++ Library (Walton used; available in 1994)
   H.   Wikipedia, SQL
   I.   DBTools.h: a standard C++ Library (Walton used; available in 1994)

(Walton passim) Defendants, leaving unchallenged all the facts and opinions offered by

Mr. Walton, concede by silence his expert understanding as to the knowledge of a person

having ordinary skill in the art. Instead, Defendants wholly ignore the required viewpoint

and evidence thereof, and invite this Court to do the same: “RTI is wrong to rely on any

expert, because this approach conflicts with the law,” (Def. Br. 6), and the requirement to

construe claims “as would a skilled artisan . . . does not apply when cases are governed

by 35 U.S.C. § 112(f), or when the prosecution history mandates a different

construction.” (Def. Br. 3) But, the opposite holds, as even the cases cited by Defendants

explain.




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                 A.     Claims Must Always Be Construed As Does
                        a Person Having Ordinarily Skill in the Art

                        1.      Even Cases Cited by Defendants Consider
                                Expert Testimony for the Artisan’s Viewpoint

         The three cases Defendants cite for the proposition that the Court should ignore

evidence of the artisan’s viewpoint when construing claims are, in fact, to the contrary.

         Defendants’ argument leads with a block quote from Aventis Pharm. Inc. v. Amino

Chemicals Ltd., 715 F.3d 1363 (Fed. Cir. 2013), as if taken from its holding. (Def. Br. 6-

7) Defendants’ lack of a pinpoint citation (also known as a “jump-cite”) was apparently

intended to obscure the fact that Defendants’ quotation actually comes from the dissent! 4

         The majority opinion in Aventis makes clear that claim construction analysis

always depends upon the viewpoint of a person having ordinary skill in the art. Id. at

1376 (holding that terms are “construed in light of a person of ordinary skill in the art,”

and explaining the district court’s “flawed analysis again does not consider the

appropriate frame of reference for claim construction. A person of ordinary skill in the art

. . .”) Following its mandate, the Aventis court relied heavily on expert evidence of the

viewpoint of a person having ordinary skill in the art in construing claims, e.g.:

                 a person of ordinary skill in the art would recognize that
                 an intermediate of the claimed chemical reaction would not
                 be required to have the same purity as the end product.

                                          *    *    *

                 Appellees maintain that no such clear and express support
                 is found in the ′703 patent specification at issue. But this
                 ignores that we must always construe the specification in
                 light of the knowledge of one of ordinary skill in the art.
                 [citation omitted]. Through basic knowledge of chemical
                 reactions and purification schemes, a skilled artisan would

4
    Notwithstanding, even the dissent considered the expert testimony.


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                recognize that the purity of an intermediate compound in a
                reaction is often not equivalent to the purity of the end
                product, especially when further, common physical
                purification steps may be necessary. Interpreting this
                specification in light of the knowledge of a person of
                ordinary skill in the art, we hold that a proper construction
                requires different interpretations of “substantially pure”
                when applied to the CPK intermediate and piperidine
                derivative end product.

                                          *    *    *

                This flawed analysis again does not consider the
                appropriate frame of reference for claim construction. A
                person of ordinary skill in the art would recognize that the
                ′703 patent improved the regioisomeric purity of the end
                product that results from the claimed reaction as compared
                to the Friedel–Crafts acylation disclosed in the ′129 patent.

                                          *    *    *

                We hold that the modifier “substantially pure,” when
                construed in light of a person of ordinary skill in the art
                and in view of the claimed improvements over the prior art,
                only applies regioisomeric impurities, not all impurities.

Id. at 1374-76. 5

        Similarly, in BASF Agro v. Makhteshim Agan of North America, the court

recognized that “a court may consider extrinsic evidence, including expert testimony.”

519 Fed.Appx. 1008, 1015 (Fed. Cir. Mar. 20, 2013). And it did, but unremarkably,

because the expert misread the prior art, the court gave that testimony little weight. 6

        The third (and final) case cited by Defendants considered testimony from both of

the “dueling experts,” and ultimately construed the claims as did the expert whose

5
 The court relied upon evidence originating from expert testimony. (Compare e.g.,
Corrected Joint Brief for Plaintiffs-Appellants, 2011 WL 3281833, *34-35 (July 14,
2011) (Fed. Cir. Case No. 2011-1334, Dkt. No. 48), Aventis, 715 F.3d 1363.
6
 Specifically, the expert explained that the “prior art required treatment both around and
under a building.” Yet that prior art actually taught “treatments applied around but not
under a building.” Id. at 1018 (emphasis in original).


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testimony most closely aligned with the plain language of the claim. Kara Tech. Inc. v.

Stamps.com Inc., 582 F.3d 1341, 1348 (Fed. Cir. 2009). Here, unlike in Kara, no dueling

testimonies exist — Mr. Walton’s expert testimony is unchallenged.

       Thus, none of Defendants’ cited cases support the proposition that the law

prohibits consideration of expert evidence. Rather, in each of these cases, the court

considered and relied on expert testimony, and the law is clear that this Court needs to

consider Mr. Walton’s expert and unchallenged declaration because, as explained below,

patents are addressed to those skilled in the art.


                       2.      Rationale for Requiring Artisan’s Viewpoint

       Claims and the remaining “descriptions in patents are not addressed to the public

generally, to lawyers or to judges, but, as Section 112 says, to those skilled in the art to

which the invention pertains or with which is most nearly connected.” Phillips v. AWH

Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc). Further,

               [b]ecause the meaning of a claim term as understood by
               persons of skill in the art is often not immediately apparent,
               and because patentees frequently use terms idiosyn-
               cratically, the court looks to “those sources available to the
               public that show what a person of skill in the art would
               have understood disputed claim language to mean.” Those
               sources include “the words of the claims themselves, the
               remainder of the specification, the prosecution history, and
               extrinsic evidence concerning relevant scientific principles,
               the meaning of technical terms, and the state of the art.”

Id. at 1314 (citations omitted). Claims, specifications, and the prosecution history —

which largely contains the correspondence between applicants and patent examiners

specialized in the particular field of the invention — are drafted for a person having

ordinary skill in the art to make and use the invention without undue experimentation. In

the en banc Federal Circuit’s words, “the foundation for . . . claim construction


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determinations is ‘the level of ordinary skill in the pertinent art.’” Id. at 1333 (emphasis

added). Evidence of “what a skilled artisan reading the claim would understand the

limitation to mean” is so important that courts elevate the artisan’s viewpoint,

idiosyncratic as it may be, above the application of grammatical guides such as the

“Chicago Manual of Style.” 3M Innovative Properties Co. v. Tredegar Corp., 725 F.3d

1315, 1327 (Fed. Cir. 2013).

       Indeed, to ignore the viewpoint of a person having ordinary skill in the art, as

Defendants do, is reversible error. AFG Indus., Inc. v. Cardinal IG Co., Inc., 239 F.3d

1239, 1249 (Fed. Cir. 2001) (remanding for failing to use expert testimony of artisans in

construing claims: “extrinsic evidence can and should be used to inform a court's claim

construction, and [the] failure to take into account the testimony of persons having

ordinary skill in the art may constitute reversible error”).


               B.      Controlling Law Precludes Defendants’
                       Reasons for Ignoring the Artisan’s Viewpoint

       Ignoring the viewpoint of a person having ordinary skill in the art, Defendants

contend that (1) Mediacom “expressly rejected” the only viewpoint of record (Def. Br. 2),

(2) use of the word “means” and citations in the prosecution history both trigger

35 U.S.C. § 112(f) (Def. Br. 8-9), and (3) all language within these citations must be

imported into the claims. Finally, Defendants contend that logic known to a person

having ordinary skill in the art cannot provide structure necessary to prevent purely

functional claiming. (Def. Br. 12-13) Each contention is wrong.




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                       1.     Mediacom, Although Lacking Final Judgment,
                              Highlights the Need for an Expert

       Defendants argue that claim constructions proposed by RTI and its expert were

“expressly rejected” by “two separate decisions,” citing Mediacom Corp. v. Rates Tech.,

Inc., 4 F.Supp.2d 17 (D. Mass. 1998) and MediaCom Corp. v. Rates Tech., Inc., 34

F.Supp.2d 76, 79 (D. Mass. 1998). (Def. Br. 2, 8) The “two separate decisions” are just

two interlocutory opinions rendered in the same case which never went to final judgment.

Mediacom v. Rates Tech., Inc., No. 1:97cv10559, Dkt. No. 98 (D. Mass. March 22, 1999)

(stipulation of dismissal). Absent final judgment, “claim construction is subject to

change. . .” Pfizer, Inc. v. Teva Pharmaceutical., USA, Inc., 429 F.3d 1364, 1377 (Fed.

Cir. 2005). Moreover, according to Defendants, the claims at issue here are “significantly

different” than those at issue in Mediacom:

               the MediaCom decision was issued in 1998—eleven years
               before the Reexamination of the ‘085 Patent resulted in a
               significantly different claim 1 being issued.

(Def. Br. 18) (emphasis added) Claims never reaching final judgment, much less

“significantly different” claims, have no bearing on RTI’s positions here. RF Delaware,

Inc. v. Pacific Keystone Techs., Inc., 326 F.3d 1255, 1262 (Fed. Cir. 2003) (declining to

preclude party from a claim construction different than in earlier action, which settled

before final judgment); Lava Trading, 445 F.3d at 1353 (reviewing an appeal from this

Court and holding that a party is not precluded from raising claim construction positions

on claim terms that were never part of an earlier final judgment).

       While not bound by Mediacom, RTI in its opening brief provided both citations to

this Court (RTI Br. 4, 7-8), noting among other things that the judge in Mediacom




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required an expert — as is Mr. Walton — to review the disputed terms of the patents-in-

suit:

               Claim 1 [of the ‘085 patent] presents questions that are
               sufficiently complex and technical that the Court would be
               remiss to impose its lay understanding on this patent claim
               without the benefit of expert guidance.

MediaCom, 4 F.Supp.2d at 29.


                       2.      The Artisan’s Viewpoint Always
                               Controls the Trigger to Section 112(f)

        Again, without support, Defendants contend that the viewpoint of the artisan

should be ignored when determining whether and to what extent a disputed term is

governed by 35 U.S.C. § 112(f). Yet, again, the very opposite is true: the Federal Circuit

“assess[es] whether a claim limitation recites sufficient structure to avoid means-plus-

function claiming from the vantage point of an ordinarily skilled artisan.” Power

Integrations, Inc. v. Fairchild Semiconductor Int'l, Inc., 711 F.3d 1348, 1364 (Fed. Cir.

2013) (emphasis added). And, when applying “§ 112, ¶ 6, knowledge of one skilled in the

art can be called upon to flesh out a particular structural reference in the specification for

the purpose of satisfying the statutory requirement of definiteness.” Creo Products, Inc. v.

Presstek, Inc., 305 F.3d 1337, 1347 (Fed. Cir. 2002); Typhoon Touch Technologies, Inc. v.

Dell, Inc., 659 F. 3d 1376, (Fed. Cir. 2011) (citing Atmel Corp. v. Info. Storage Devices,

198 F.3d 1374, 1382 (Fed. Cir. 1999)) (explaining that “[t]he requirement of specific

structure in § 112, ¶ 6 thus does not raise the specter of an unending disclosure of what

everyone in the field knows that such a requirement in § 112, ¶ 1 would entail.”). Thus,

the entire analysis depends upon what Defendants ignore: the viewpoint of a person

having ordinary skill in the art.



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                        3.      “Means,” Merely a Starting Point, Does
                                Not Replace the Artisan’s Viewpoint

        Ignoring the viewpoint of a person having ordinary skill in the art, Defendants

argue that the word “means” is a per se trigger for Section 112(f). (Def. Br. 8) No case so

holds, and Defendants ignore at least four Federal Circuit rulings to the contrary. (RTI Br.

7) Those cases hold that inclusion of the word “means” in a claim is only a starting point

of an analysis to determine whether Section 112(f) applies. Defendants’ “error lies in [its]

reliance on single words of the limitations, e.g., ‘[means],’ as opposed to the limitations

as a whole…” Apex Inc. v. Raritan Computer, Inc., 325 F.3d 1364, 1372 (Fed. Cir. 2003).

        This starting point, or presumption, is readily overcome whenever the claim as a

whole provides some “structure, material or acts” for the artisan to understand what

performs the function in question. 7 Rodime PLC v. Seagate Tech., Inc., 174 F.3d 1294,

1304 (Fed. Cir. 1999) (reversing application of Section 112(f) as to “positioning means,”

explaining that although “the claim did not recite every last detail of structure disclosed

in the specification for performing the claimed moving function,” “[t]his court's case law,

however, does not require such an exhaustive recitation to avoid § 112, ¶ 6.”). That is so

even if the claim language “covers a broad class of structures and even if the term

identifies the structures by their function.” (RTI’s Br. at 7)




7
  While patent applicants have been “clearly enamored of the word ‘means’,” its use in
many cases is merely “perfunctory.” Cole v. Kimberly-Clark Corp., 102 F.3d 524, 531
(Fed. Cir. 1996) (holding that while “six of seven elements in that claim include the word
‘means,’ which occurs in the claim fourteen times,” none of those occurrences amounted
to means-plus-function elements within the meaning of § 112, ¶ 6.).


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                       4.      Prosecution History Statements Are
                               Irrelevant to Whether Section 112(f) Applies

        Throughout its brief, Defendants’ main argument is that disputed claim language

is governed by 35 U.S.C. § 112(f) because of arguments made during prosecution of the

patents. The Federal Circuit has rejected such an argument: “alleged admissions in the

prosecution history” are “immaterial in evaluating whether the means-plus-function

presumption is rebutted” because the “inquiry focuses on the claim language.” Robinson

v. Cannondale Corp., 81 Fed.Appx. 725, 728, 2003 WL 22839336 (Fed. Cir. 2003)

(holding that “‘rotational indexing means’ is not a means-plus-function limitation.”)

(emphasis added) 8 . As such, Defendants’ entire reasoning should be disregarded.

        The only test as to whether Section 112(f) governs a term is whether the claim as

a whole identifies to a person having ordinary skill in the art some information about a

class of structures that the artisan would use for the claimed function.


                       5.      An Ambiguous Prosecution History, Even
                               If Considered, Does Not Trigger Section 112(f)

        In puffing up the importance of the prosecution history here, Defendants argue

that it is “the most important” evidence, more important even than “the claim language

itself” or “the specification.” (Def. Br. 4) Defendants have it backwards: The Federal




8
  See, also, Power Integrations, 711 F.3d 1348, 1365 (Fed. Cir. 2013) (“The proper
inquiry is whether the claim limitation itself, when read in light of the specification,
connotes to the ordinarily skilled artisan sufficiently definite structure for performing the
identified functions”); Flo Healthcare Solutions, LLC v. Kappos, 697 F.3d 1367, 1373
(Fed. Cir. 2012)(“In rebutting the presumption, when a claim recites a function ‘but then
goes on to elaborate sufficient structure, material, or acts within the claim itself to
perform entirely the recited function, the claim is not in means-plus-function format even
if the claim uses the term means.’”).


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Circuit has consistently “warn[ed]” that the prosecution history is less useful for claim

construction:

                [B]ecause the prosecution history represents an ongoing
                negotiation between the PTO and the inventor, “it often
                lacks the clarity of the specification and thus is less useful
                for claim construction purposes.”

3M, 725 F.3d at 1325-26 (emphasis added)(quoting Netcraft Corp. v. eBay, Inc., 549 F.3d

1394, 1401 (Fed.Cir.2008) (quoting Phillips, 415 F.3d at 1317 (en banc)). None of the

cases Defendants cite hold that prosecution history is the “most important” evidence, nor

could those cases overrule the en banc decision in Phillips, finding the opposite:

prosecution history is “less useful.” Id.

       Limiting a claim by use of language in the prosecution history is referred to as the

“doctrine of prosecution disclaimer.” Whether and to what extent claim scope has been

disavowed is determined, again, through the viewpoint of “one of ordinary skill in the

art.” Elbex Video, Ltd. v. Sensormatic Electronics Corp., 508 F.3d 1366, 1371 (Fed. Cir.

2007) (finding no disavowal). “Precedent requires that, in order for prosecution

disclaimer to attach, the disavowal must be both clear and unmistakable.” 3M, 725 F.3d at

1325 (reversing application of prosecution disclaimer to limit claim scope). “Where an

applicant's statements are amenable to multiple reasonable interpretations, they cannot be

deemed clear and unmistakable.” Id. at 1326; 01 Communique Lab., Inc. v. LogMeIn,

Inc., 687 F.3d 1292, 1297 (Fed. Cir. 2012) (reversing application of prosecution

disclaimer as reexamination statement had more than one interpretation).

       The “dispositive” prosecution history that Defendants rely upon as triggering

Section 112(f) originates from snippets in an appeal brief that Defendants readily admit

was “never lodged with the Board,” i.e., it was never considered. (Def. Br. 14)



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Nevertheless, Defendants infer that the examiner would have relied upon the

unconsidered appeal brief because the examiner issued the claims after the brief was

filed. (Def. Br. 14-15) In fact, as the brief was not before the examiner; he maintained his

rejection after the brief was filed until participating in an interview with the applicants. 9

(A-371) After the interview he issued the Notice of Intent to Issue Ex Parte

Reexamination Certificate. (A-375-78)

        Defendants further argue that applicants amended the claims to overcome the

rejections by “including ‘means’ limitations . . .” (Def. Br. 9, 14) Again, Defendants err.

As explained on the reexamination certificate, “matter printed in italics indicates

additions made to the patent” and, clearly, none of the italicized language includes

“means.” (A-377)

        Regardless, these cherry-picked snippets, if anything, are ambiguous and

susceptible to multiple interpretations. Specifically, applicants “argued separately” that

even if the examiner applied a means plus function analysis, structure existed in the

specification supporting the claimed language. (A-264-65) Instead of quoting specific

structure from the specification, applicants provided citations to areas of the specification

that provided support. (Id.) In doing so, applicants never stated that Section 112(f) must

govern the claimed language, whether the citations provided the only support, and never

explained how much (or how little) structure the artisan would actually need to perform

the various functional aspects of the claim.

9
  In this March 19, 2009 interview, the examiner summarized: “Generally discussed the
attached proposed amendment to the claims. After initial review, the examiner noted that
the proposed amendment appeared to include subject matter that may overcome the
rejections, but the examiner needed to review the references more fully. The Patent
Owner discussed their intentions of filing a formal amendment with similar limitations.”
(A-371)


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         Applicants’ alternative argument to the appellate unit is understandable given that

examination in the Patent Office follows “different standards” of claim construction for

pending claims than courts follow in construing issued claims. In re Swanson, 540 F.3d

1368, 1378 (Fed. Cir. 2008)); SAP America, Inc. v. Versata Dev. Grp., 107 U.S.P.Q.2d

1097, 2013 WL 3167735, *4 (Patent Tr. & App. Bd. June 11, 2013)(declining to adopt

district court construction, explaining that there are “two claim construction standards:

the Office's [Broadest Reasonable Interpretation] BRI construction and the district court

standard set forth in Phillips v. AWH.”)

         Whereas the Patent Office applies the “broadest reasonable construction,” courts

do not, which has resulted in different constructions. See, e.g., In re Am. Acad. Of Sci.

Tech Ctr., 367 F.3d 1359, 1369 (Fed. Cir. 2004) (explaining that the different standards

resulted in different constructions at the Patent Office and district court). Perhaps to

account for a broadest reasonable construction standard, applicants argued alternatively

that structure in the specification supported the claims in a means plus function analysis.

         While ambiguous, it agrees with Mr. Walton’s own expert analysis of the entire

record including the prosecution history, which included all reexaminations 10 , where he

determined that it was consistent with the knowledge of a person having ordinary skill in

the art. Specifically, Mr. Walton identified structure in the claim itself that was supported

in the specification, and the identified structure was also described on some level within

the overly broad prosecution history citations to the specification that Defendants rely on.

10
  Defendants urge this Court to ignore the Walton declaration because it “failed to
analyze” the “relevant prosecution histories.” (Def. Br. 6) Yet, the expert declaration
expressly states that he reviewed the entire prosecution history and compared each
disputed claim language to the information in the prosecution history. (Walton passim)
The “prosecution history” which Mr. Walton reviewed, includes all “reexamination.” See
Y2 Associates v. Phone-Mate, Inc., 837 F.2d 1097 (Fed. Cir. 1987).


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       Regardless, this ambiguous and unconsidered alternative analysis plays no role in

determining whether Section 112(f) governs.


               C.      Under Section 112(f), this Ambiguous Prosecution
                       History Does Not Inform How Much Structure the
                       Artisan Requires

       After applying a per se trigger to Section 112(f), Defendants proceed to import

language into the claim terms without regard to how much (or little) structure an artisan

actually needs to understand the claim language. This is impermissible, amounting to

importing into the claim “an unending disclosure of what everyone in the field knows that

such a requirement in § 112, ¶ 1 would entail.” Typhoon, 659 F.3d at 1376 (citing Atmel,

198 F.3d at 1382). Such a wholesale importation constitutes legal error. Id. RTI has

provided the proper inquiry in Section V of its opening brief.

       Because, as explained below, the expert’s testimony shows that regardless of

whether the Court applies Section 112(f), the amount of structure needed from the

specification for an artisan to understand what class of structures perform as claimed is

virtually identical to that discerned from the claim itself, Defendants’ arguments appear to

be a tempest in a teapot. And, even Defendants recognize this can be the case: with-

drawing its contention that “jack means” was governed by Section 112(f) “because the

issue has little, if any, consequence.” (Def. Br. 17)


               D.      Classes of Logic Known to the Artisan and
                       Described in the Claims and Specification
                       are Structure

       Defendants, without factual or legal support, unequivocally argue: “‘[l]ogic’ is not

a structure.” (Def. Br. 13) Because of that, continue Defendants, RTI’s constructions

relying on logic known to the artisan are “legally indefensible,” amounting to “purely


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functional claiming,” and “is yet another example of RTI making-up law contrary to

established precedent.” (Def. Br. 12-13)

        Yet, the only “established precedent” Defendants cite for its contention that logic

is not structure recognizes the opposite: “structure for . . . a computer-implemented

function is the algorithm. . .” Aristocrat Technologies Australia Pty Ltd. v. Int'l Game

Tech., 521 F.3d 1328, 1333 (Fed. Cir. 2008) (emphasis added). There, the court

distinguished a “general purpose computer,” which “can be programmed to perform very

different tasks in very different ways,” from a computer “programmed to perform

particular functions pursuant to instructions from program software.” Id. The former

lacks structure, the latter provides structure.

        Aristocrat is not alone in recognizing logic as structure. Typhoon, 659 F.3d at

1385 (reversing indefiniteness on “means for cross-referencing” because the algorithms

provided structure). “Precedent and practice permit a patentee to express that procedural

algorithm ‘in any understandable terms including as a mathematical formula, in prose, or

as a flow chart, or in any other manner that provides sufficient structure.’” Id. (emphasis

added); see Apex, 325 F.3d at 1373 (holding that “logic” provided additional structure as

an identifier of the term circuit: “‘circuit’ with an appropriate identifier such as

‘interface,’ ‘programming’ and ‘logic,’ certainly identifies some structural meaning to one

of ordinary skill in the art.”). The unchallenged evidence of record here establishes that

classes of logic known at the time and described in the claims and specification, like

Aristocrat’s “instructions from program software,” “perform particular functions” — the

claimed functions. (Walton passim). As such, construing claims according to these known

classes of logic limits the claim so as not to allow pure functional claiming.




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         Thus, the above claim construction analysis, from beginning to end, depends

entirely on what a person having ordinary skill in the art understands the terms to mean

— nothing more, nothing less, no exceptions. Just as the Federal Circuit has vacated

claim constructions that ignore the artisan’s viewpoint, so should this Court disregard

Defendants’ brief that fails to apply any viewpoint for its proposed constructions, much

less the viewpoint of a person having ordinary skill in the art, established in the

unchallenged Walton expert declaration and supporting exhibits.

         With Defendants’ fundamental errors in mind, RTI next explains Defendants’

errors specific to each of the disputed claim language.


         III.   DEFENDANTS’ ERRORS REGARDING
                SPECIFIC CONSTRUCTIONS

                A.      Construction of Disputed Terms
                        in Claim 1 of the ‘085 Patent

                        1.      device

         Defendants contested RTI’s construction in the Joint Claim Construction

submission (Dkt. No. 70) but their claim construction brief fails to even address the issue.

Defendants thus apparently concede RTI’s proposed construction “device” is not a claim

limitation. As such, RTI requests this Court adopt its construction.


                        2.      comprising

         Defendants, although misstating 11 RTI’s construction, do not contest it.

Defendants thus apparently concede RTI’s proposed construction that “comprising” is a



11
  Compare RTI’s actual construction ,“comprising is a transition term linking the
preamble to the body of the claim,” (Dkt. No. 70) with Defendants’ version,
“‘comprising’ means ‘including’.” (Def. Br. 16)


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transitional phrase linking the preamble to the body of the claim. As such, RTI requests

this Court adopt its construction.


                       3.      a housing forming an enclosure and
                               comprising

       In their own words, “Defendants’ construction requires that a single housing

include both the first and second jack means.” (Def. Br. 15) (emphasis added)

Defendants, for three separate reasons, seek to have the Court import the word “single”

into the claim. All have been explicitly rejected by the Federal Circuit.

       Defendants’ primary evidence that the claims require a “single” housing for both

jacks is that the patent “consistently and exclusively refers to ‘A housing’ or ‘the

housing’.” (Def. Br. 15-16) (underline in original) But, “the articles ‘a’ and ‘the’ do not

suggest singularity.” Free Motion Fitness, Inc. v. Cybex Int'l, Inc., 423 F.3d 1343, 1350

(Fed. Cir. 2005); see 01 Communique, 687 F.3d at 1299 (construing a location facility as

“may be distributed among one or more locator server computers”). Rather, under

Federal Circuit law, these terms are open-ended and mean “one or more,” or “at least

one.” Accent Packaging Inc. v. Leggett & Platt Inc., 707 F.3d 1318, 1326 (Fed. Cir.

2013). This is especially so given that, as Defendants’ recognize, the “patent consistently

and exclusively” uses “a” or “the” (Def. Br. 15) — it never “evince[d] a clear intent” to

limit the terms by using words like “one” or “single” in the claims or specification. See

Baldwin Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1342-43 (Fed. Cir.

2008)(reversing limiting the term to one); see also Paragon Solutions, LLC v. Timex

Corp., 566 F.3d 1075, 1086 (Fed. Cir. 2009) (holding “the claim term ‘data acquisition

unit’ is not limited to a single structure but may comprise multiple physically separate

structures”). Moreover, here the specification, when referring to use of housings and


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enclosures, states that “any configuration can be used depending on the designer’s choice

. . .” (Col. 3:27-31; Walton 10)

       Defendants’ secondary argument is that the patent describes one embodiment that

uses a housing and an enclosure. (Def. Br. 15-16) But, again, this argument has been

“expressly rejected.” Phillips, 415 F.3d at 1323 (noting its precedent, “[i]n particular, we

have expressly rejected the contention that if a patent describes only a single

embodiment, the claims of the patent must be construed as being limited to that

embodiment” in part because “persons of ordinary skill in the art rarely would confine

their definitions of terms to the exact representations depicted in the embodiments”).

And here, the inventor specifically noted that the artisan could use other configurations

and embodiments. (Col. 3:28-31; 6:64-67)

       Defendants, in one further effort, argue that the “entire concept of the invention

was that there would be one housing that enclosed all the elements of the claims.” (Def.

Br. 16) (underline in original). Defendants’ repeated underscoring of their own argument

cannot make those words magically appear in the patent or its claims. Nor do they. The

word “one” never appears, and the word “all” only appears three times: “all long distance

calls,” “all digits,” and “all carriers.” The inventor certainly knew how to use these words

and chose not to use them with respect to housing or enclosure.

       Further, Defendants’ contention that the “entire concept of the invention” requires

“one housing” (Def. Br. 16) is equally fictitious. The specification nowhere identifies a

need for a single housing as a problem to be solved. Instead, the inventors recognized that

consumers were unwilling to purchase complex phones that route calls and thus

addressed consumer desires by inventing call routing technology that among other things




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is “separate and apart from the telephone.” (Col. 1:21-35; 1:38-43) Further, Defendants

fail to even address the fact that the claims were specifically amended to make clear that

no single enclosure need include “all the elements of the claims.” (Walton 10, citing

prosecution history)

       Defendants, remaining silent as to Mr. Walton’s expert declaration, therefore

concede that the artisan, having read the claims, specification, and prosecution history,

views the invention as RTI construes the disputed language. (Walton 9-11) Thus, RTI

requests this Court adopt its construction.


                       4.      first jack means for connection to said first
                               telephone; second jack means for connection
                               to said network

       Defendants expressly adopted RTI’s proposed construction that this claim

language is not governed by 35 U.S.C. § 112(f) and employs ordinary meaning to a

person having ordinary skill in the art. (Def. Br. 17)

       Yet, despite this concession, Defendants invite the Court to restate this claim

language using words from a mere “general example” provided by Mr. Walton. (Walton

12, 14) When the claim language is already clear to a person having ordinary skill in the

art, “restating every claim term” is at best “an obligatory exercise in redundancy,” which

invites errors in claim construction and should be avoided:

               The Court is not persuaded, however, that substituting the
               term “by itself” for “unsupported” would permit a trier of
               fact to better understand the meaning of that term. Gerson
               has not explained how the two terms are different or argued
               that “by itself” offers any better explanation of the term
               “unsupported.” Claim construction “is not an obligatory
               exercise in redundancy,” and the Court will not merely
               substitute synonyms for disputed claim language. See U.S.
               Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568
               (Fed.Cir.1997). The term “by itself” is synonymous with


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               the asserted claim term “unsupported,” and to the extent
               that the terms are distinguishable, the Court declines to
               construe claim 1 to include the limitation “by itself.” Cf.
               Motorola, Inc. v. VTech Commc'ns, Inc., No. 5:07CV171,
               2009 WL 2026317, at *8 (D.Minn. July 6, 2009) (“With
               regard to meaning, where additional language may be
               unduly limiting, confusing, or redundant, it is in a court's
               power to determine that no construction is necessary. A
               court may decline to adopt constructions that violate claim
               construction doctrine, such as improperly importing
               limitations, and may still construe terms to have their
               ordinary meaning.”).

3M Innovative Properties Co. v. Louis M. Gerson Co., Inc., 2010 WL 4106712, *6 (D.

Minn. 2010).

       As such, this Court should avoid restating that which is clear and adopt RTI’s

construction as a “first jack for connection to said first telephone” and a “second jack for

connection to said network.”


                       5.      switch means operatively connected to said
                               first jack means for disconnecting said first
                               telephone from said network during routing
                               of a telephone call from said first telephone

       Defendants wholly fail to address the Walton declaration that a person having

ordinary skill in the art recognizes specific structure within the claim as a whole that

informs such persons to use a “switch” to operate as claimed. By silence, they concede

the point.

       Ignoring the viewpoint of one of ordinary skill in the art — relying solely on

portions of an unconsidered appeal brief filed during reexamination — Defendants

provide their own interpretation of this claim language as (1) governed by 35 U.S.C.

§ 112(f) and (2) including everything from the specification in “Ref. No. 36, Col. 3, lines




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51-64, Fig. 2,” (Def. Br. 18-21) — one hundred twenty-one (121) words and an entire

figure from the specification!

         First, as explained in Section II.B.4 above, prosecution history is simply not

relevant to whether a disputed claim term is governed by 35 U.S.C. § 112(f).

         Second, as explained, words from the prosecution history must not be imported

into this claim language when — as here — the alleged disavowal is “amenable to

multiple reasonable interpretations” and is not “clear and unmistakable.” See Section

II.B.5 above.

         Specific to this disputed language, Defendants strip these bare citations from their

context. In the omitted 12 context, the inventor stated the “switch means” was a “switch,”

and although the specification in one embodiment used a “2 From C” switch, artisans

may use other switches:

                The “switch means” consists of one or more switches for
                controlling a circuit so that one state or position permits
                signaling between the originating telephone and the
                network and a second state or position disables signaling
                between the originating telephone and the network. In other
                words, the switch means is a mechanism for isolating the
                telephone addressing signals (i.e., the number dialed) from
                the telephone network.

                The embodiment of the switch means element in the
                specification includes the "2 Form C" switch arrangement
                shown in Fig. 2 (block 36) of the patent. A "2 Form C"
                switch is also known in electrical engineering as a "double-
                pole, double-throw" switch. There are many configurations
                of switches--whether Form A, B, or C switches, shunting
                mechanisms, relays, or other mechanical or solid state
                devices--that could be easily substituted for the 2 Form C
                switch to accomplish the same function (disconnecting the

12
   In the block quote that follows, Defendants quoted the second paragraph while
chopping off the first paragraph (Def. Br. 19) which clearly shows that “switch means” is
a “switch.”


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               originating telephone form the network), to get the same
               result (isolation of the originating telephone from the
               network during the period when the call is being routed).

(A-68, ‘085 Reexam, July 26, 2007 Response at 25) This additional context showing that

the switch means is a class of switches is also consistent with the specification, which

refers to the invention as including a “switch” (Abstract; Col. 1:64; 1:67; 2:5; 2:18) and

invites the artisan to use “other arrangements.” (6:64-67) Mr. Walton, recognizing this

teaching, explained that the artisan, having read the claims, specification, and prosecution

history, “would know how to choose among various switches that perform as claimed,”

and provided exemplary evidence from an art-specific dictionary of a class of structures

known in the art as switches. (Walton 16-17)

       Defendants’ remaining citations to the appeal brief concern statements that simply

describe a reference called “Vodavi.” (A-276 to A-282) Defendants contend that Vodavi

disclosed a switch and therefore the claimed switch means cannot be a class of switches.

Defendants entirely miss the point of the discussion it cites.

       The actual discussion focused specifically on Vodavi’s “COT8 or EMT4 trunk

selector boards,” and in that discussion, the issue wasn’t simply whether Vodavi disclosed

a “switch” that was a “switch means” but whether its disclosure would “meet the claim

limitations directed to the switch means or the claim limitations reciting the manner in

which the switch means is connected.” (A-276) In other words, did Vodavi meet other

aspects of the claim language relating to, among other things, the “manner in which the

switch means is connected?” Vodavi did not disclose all such claimed limitations. One

could use a switch as a paper weight too, but such use would not meet “the claim

limitations reciting the manner in which the switch means is connected.” Because Vodavi

did not disclose the claimed manner in which the switch was connected, the only way to


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disconnect it from the network would require, unsurprisingly, unplugging the jack. (A-

278)

       To the extent that applicants’ above remarks “are broader than necessary to

distinguish the prior art, the full breadth of the remark is not ‘a clear and unambiguous

disavowal of claim scope as required to depart from the meaning of the term [switch]

provided in the written description.’” 3M Innovative Props. Co. v. Avery Dennison Corp.,

350 F.3d 1365, 1373 (Fed.Cir.2003) (quoting Storage Tech. Corp. v. Cisco Sys., Inc., 329

F.3d 823, 833 (Fed.Cir.2003)).

       Thus, as explained in the Walton declaration, the context surrounding Defendants’

quoted citations are consistent with the artisan’s understanding that the claim as a whole,

as does the specification, describes structure known to the artisan as a “switch.” (Walton

16-17) Defendants leave unchallenged the facts of Mr. Walton’s expert declaration, and

RTI requests this court adopt its construction.


                       6.      disconnecting

       “Disconnecting” is part and parcel to the above disputed language concerning a

“switch.” Defendants totally ignore the viewpoint of a person having ordinary skill in the

art, which Walton expert declaration provides, who understands disconnecting as used in

this claim in the context of the specification and prosecution history to mean the

interruption of a connection (disconnecting communication such as signaling) (Walton

18-19; RTI Opening Br. 13). Instead, Defendants rely exclusively on two arguments: 1)

Mediacom prevents RTI from proposing its construction, and 2) RTI disclaimed its

construction in the above unconsidered appeal brief. Neither is correct.




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       But Mediacom, as explained in Section II.B.1 above, is inapposite. Defendants’

argument is two-faced: while implying that Mediacom controls as to “disconnecting”

here, it took the exact opposite position as to the same term “disconnecting” within the

above disputed language concerning “switch” just discussed. See Section III.A.5 above.

       As to the alleged prosecution disclaimer, Defendants point to the same

unconsidered appeal brief discussed in Section II.B.4 to II.C above.

       But, just as Mr. Walton explained, the prosecution history is consistent with the

viewpoint of a person having ordinary skill in the art and supports RTI’s construction.

(Walton 19) Defendants cite two descriptions of the prior art, misconstruing each.

       Defendants first cite to A-279, but omit both the beginning of the paragraph and

the surrounding paragraphs, which makes clear the applicants were discussing “COT8 or

EMT4 trunk selector boards” in the reference “Vodavi.” (A-278 to 279) Applicants

simply recognized that because Vodavi failed to disclose its hardware disconnecting the

signaling (e.g., “can pick up the receiver at any time to obtain a dial tone…”), the only

way to disconnect in Vodavi would require its jack to be “pulled from the wall

receptacle” and Vodavi does not even disclose doing that. (A-279) Obviously, the claim

of the patent-in-suit does not require anything to be pulled from a wall.

       Defendants’ second cite also omits important context. Its block quote to A-282

discussing the “Isotec” reference chops out that it “operates essentially the same way as

the Vodavi system,” and “[l]ike Vodavi….” (A-282) Thus, the same reasoning discussed

above applies equally here: i.e., Isotec fails to disclose disconnecting the signaling.

       That neither Vodavi nor Isotec disconnected the signaling is consistent with other

parts of the same reexamination. As explained above, Defendants block quote a




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paragraph from page 25 of applicants’ July 26, 2007 Response to the examiner during the

reexamination but — conspicuously — fail to quote the paragraph immediately

preceding, which follows:

               The “switch means” consists of one or more switches for
               controlling a circuit so that one state or position permits
               signaling between the originating telephone and the
               network and a second state or position disables signaling
               between the originating telephone and the network. In other
               words, the switch means is a mechanism for isolating the
               telephone addressing signals (i.e., the number dialed) from
               the telephone network.

(A-68, July 26, 2007 Resp. at 25). Thus, the very same page of the prosecution history

cited by Defendants makes clear that the issue of disconnecting is that of signaling. With

such a reasonable interpretation, the prosecution history is simply not a disavowal of

claim scope, let alone a clear and unmistakable disavowal. As such, no disclaimer

occurred here. Grober v. Mako Products, Inc., 686 F.3d 1335, 1342 (Fed. Cir. 2012), reh'g

denied, (Sept. 14, 2012) (reversing application of prosecution disclaimer to limit claim

scope because reexamination statement ambiguous); Computer Docking Station Corp. v.

Dell, Inc., 519 F.3d 1366, 1375 (Fed. Cir. 2008).

       Because neither Mediacom nor the prosecution history prevents RTI’s

construction (indeed the prosecution history supports RTI) and Defendants, by silence,

concede the construction of disconnecting from the viewpoint of a person having

ordinary skill in the art, RTI requests this Court adopt the only proposed construction that

adheres to the artisan’s viewpoint — RTI’s.

                       7.     means operatively connected to said switch
                              means for generating a current through said
                              switch means to the first telephone corresponding
                              to a current provided by said network, when the
                              first telephone is disconnected from said network
                              by said switch means


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                       8.     means operatively connected to said switch
                              means for detecting and storing said telephone
                              number originating from the first telephone

                       9.     means for addressing said database means for
                              identifying a plurality of communication switch
                              paths to said second telephone and the cost rate
                              of each path

                       10.    means actuated subsequent to the detection of
                              said telephone number originating from said first
                              telephone for comparing the cost rate of each path
                              so as to determine a least cost route

                       11.    means operatively connected to said switch means
                              and said second jack means for generating a number
                              sequence corresponding to a desired carrier so that
                              said call is routed through said second jack means to
                              the selected communication path and carrier to
                              establish a switched connection between said first
                              telephone and said second telephone phone

       Defendants’ treatment of these five disputed claim phrases suffer from virtually

identical flaws, so RTI addresses them together. (Certain arguments that relate only to

specific disputed claim language are addressed below.)

       In disputing RTI’s proposed construction on these five claim phrases, Defendants,

again, ignore the viewpoint of a person having ordinary skill in the art and, by silence,

concede that the construction as understood through the viewpoint of the artisan, as

explained in the Walton expert declaration. Rather, they again contend that 1) Mediacom

forecloses RTI’s construction, and 2) the same unconsidered appeal brief invokes

Section 112(f). Neither is true. As to Mediacom, see Section II.B.1 above.

       As to the unconsidered appeal brief, as explained in Section II.B.4 above, it is not

relevant in determining whether Section 112(f) governs the disputed claim language. And

even if the language is considered, Defendants propose to import, from applicants’




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alternative argument, bare citations to wholesale portions of the specification. 13 For none

of these citations did applicants state that all of the cited language and figures were

necessary for a person having ordinary skill in the art to understand what performs as

claimed. See Sections II.B.4 to II.C above. This ambiguous prosecution history, and

wholesale portions of the specification, taken from multiple columns and entire figures

(in one case, three), cannot be imported into the disputed claim language. Grober, 686

F.3d at 1342; Computer Docking Station, 519 F.3d at 1375. Defendants’ kitchen-sink type

of importing bare citations — instead of specific language — leaves the Court with no

guidance as to actually construing 14 claims and yet again underscores that claim

construction at this point is premature. See Section I above.

          Because neither Mediacom nor prosecution history prevents RTI’s construction

(indeed the prosecution history supports RTI) and Defendants, by silence, concede the

construction of disconnecting from the viewpoint of a person having ordinary skill in the




13
     Respectively, the bare citations Defendants propose to import are:
      7. Ref. No. 38, Col. 3, lines 57-61, Col. 4, lines 22-27, Fig.2
      8. Ref. No. 88, Col. 4, lines 40-43, Fig. 2
      9. Ref. No. 50, Col. 6, lines 2-30, Fig. 5
      10. Ref. No. 50, Col. 2, lines 10 and 11, Col. 4, lines 1-16, Col. 6, lines 22-28, Figs. 2
          and 5
      11. Ref. No. 80, Col. 2, lines 11-18, Col. 4, lines 33-38, Col. 6, lines 26-28, Figs. 2, 4
          and 5
14
  Construing (interpreting) claims is “a way of elaborating the normally terse claim
language in order to understand and explain, but not to change, the scope of the claims.”
Terlep v. Brinkmann Corp., 418 F.3d 1379, 1382 (Fed. Cir. 2005); U.S. Surgical, 103
F.3d at 1568 (“Claim construction is a matter of resolution of disputed meanings and
technical scope, to clarify and when necessary to explain what the patentee covered by
the claims, for use in the determination of infringement.”); Black's Law Dictionary (6th
ed. 1991) (Interpretation “is the art or process of discovering and expounding the
intended significance of the language used. . . .”)


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art, RTI requests this court adopt the only proposed construction that adheres to the

artisan’s viewpoint — RTI’s.

                               a.     Reply Argument Specific To Certain Terms

       In addition to Defendants’ cookie-cutter arguments for Nos. 7 through 11 above,

Defendants make additional arguments with respect to Nos. 7 and 10.

                               b.     Term No. 7

       As for No. 7, Defendants readily admit that the claim uses “plain language.” (Def.

Br. 24) As such, this Court should not further construe it. 3M, 2010 WL 4106712 at *6

(citing U.S. Surgical, 103 F.3d at 1568).

       After recognizing the language is clear, Defendants attempt to recast it, importing

additional words, such as requiring that “the telephone [be] attached to the ‘housing,’”

neither of which are in the disputed claim language, and attempt to justify their import

using the same unconsidered and ambiguous appeal brief. To hide the ambiguity,

Defendants again camouflage the particular discussion by chopping the fact that

applicants were describing “COT8 and EMT4” hardware, and that because Vodavi did

not disclose providing current through any switch, it could not meet the claimed

limitation. (Compare Def. Br. 24-25 with A-279) Since by Defendants’ admission, the

language is “plain,” RTI requests this Court refrain from importing Defendants’ words

therein.

                               c.     Term No. 10

       As for Term No. 10, Defendants leave unchallenged Mr. Walton’s expert

declaration and supporting exhibits showing that the claim and specification both inform




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a person having ordinary skill in the art to use a known class of logic operations for the

claimed function. By silence, Defendants concede the artisan’s viewpoint.

       Instead, Defendants allege the language is indefinite because logic cannot provide

structure and because the prosecution history precludes the structure identified by Mr.

Walton. But as explained in Section II.D above, classes of known logic provide structure,

just as Mr. Walton has identified.

       Further, the actual prosecution history is consistent with RTI’s proposed

construction and the facts presented by Mr. Walton. Defendants disingenuously attempt

to pass-off their own language as a block quote from A-291 in the unconsidered appeal

brief. (Def. Br. 28) But, that language does not exist as quoted! The closest language to

what Defendants purport to quote is on page A-290, but Defendants’ quotation is simply

inaccurate and misleading. To make this perfectly clear, RTI quotes this portion of the

appeal brief, with Defendants’ additions and deletions to the appeal brief shown as

underscored and struck, respectively:

               Upon making a call, an ARS system looks at the dialed
               number and then simply selects the appropriate table route
               based on the dialed number in the order or predetermined
               priorities previously stored in the route tables for the
               destination, the time of day and day of week. The system
               looks at the table and selects the route with the highest
               priority (after undesirable routes are eliminated, for
               example, because of lack of capacity, insufficient
               transmission speed or other technical deficiency). If that
               route is not available, it looks for the route with the next
               highest priority, etc. ARS required little memory capacity
               and no ability to retrieve and compare stored cost rates for
               various carriers.

               LCR tables contain different information than ARS tables.
               LCR tables contain the cost rates related to possible routes.
               They do not contain lists of routes in order of priority.
               Further, the information from LCR tables is used by the
               telephone system in a different manner than that obtained


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                from the ARS route tables. In LCR, the stored information
                is compared to determine select a route. In ARS, the route
                is selected based upon the stored route priorities formed
                outside the system.

(Compare A-290 with Def. Br. 28) When one reviews the actual prosecution history,

rather than the faux version presented by Defendants, as well as pages A-305-06 of the

same appeal brief, one discovers that the history is in-line with Mr. Walton’s expert

declaration.

       Specifically, the entire description is of Automatic Route Selection (ARS), which

does not — contrary to Defendants’ unsupported attorney argument — use the class of

logic operations identified by Mr. Walton and known by the artisan. Instead, as explained

by applicants, ARS systems merely “select a route from the appropriate hierarchy table”

that has been “previously stored” and is in a “predetermined priority.” (A-305-06) In

other words, the cited art does not use the claimed comparison logic.

       Defendants’ position is supported by misquoted portions of the prosecution

history and unsupported attorney argument. Yet Defendants fail to challenge that the

artisan recognizes in the claim and specification known classes of logic. For these

reasons, RTI requests this court adopt the artisan’s viewpoint and, thus, RTI’s

construction.


                       12.    means for generating a current

       Defendants, after disputing this phrase, do not argue it separately from the

disputed phrase explained in Section III.A.7 above.




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               B.      Construction of Disputed Terms
                       in Claim 1 of the ‘769 Patent

                       1.       at a predetermined time and date

       Defendants, with this term, repeat their mantra that the Mediacom decisions and

the prosecution history prevents RTI’s construction. (Def. Br. 31-32) In fact both support

RTI’s construction.

       “Defendants incorporate by reference Judge Young’s analysis . . .” (Def. Br. 31),

which follows: “the words used in the claim are simple English,” “the claim itself speaks

clearly and unambiguously” and “yields up its meaning quite readily.” MediaCom, 4

F.Supp.2d at 32. Mr. Walton comes to the same conclusion. (Walton 41) The proper

construction, therefore, is “at a predetermined date and time.”

       Judge Young, however, despite concluding that the phrase was clear on its face,

added “a substantial period in advance of the call,” although such was never at issue.

Such importation not only runs afoul of Federal Circuit law prohibiting the importation of

terms when they are clear, 3M, 2010 WL 4106712 at *6 (citing U.S. Surgical, 103 F.3d at

1568), but the additional language creates confusion (which call? what is a substantial

period in advance of the call?) and is otherwise incorrect.

       As Mr. Walton explained, the purpose of a predetermined dated and time,

according to the ‘769 Patent specification, Col. 10, lines 6-10, is to “stagger connections

with the rate provider, thus assisting in load balancing.” (Walton 41) If predetermined

meant “substantially in advance of [every?] call,” no load balancing would occur; instead,

the load would follow the call volume. Thus, the gratuitous phrase makes no sense in the

context of the specification.




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         It also conflicts with the very prosecution history language cited by Defendants,

A-406, which explains that “predetermined date and time” occurs by using a “particular

date and time” as opposed to using time intervals that are not predetermined. Thus the

prosecution history states nothing about whether the date and time must be determined

substantially in advance of a call (or all calls?), whichever is being referred to.

         As explained in Section II.B.1 above, Mediacom does not bind RTI’s

construction, and the artisan, “in the context of the remainder of claim 1, the

specification, the prosecution history, and [his/her] knowledge” (Walton 41), views the

claim language as clear on its face: a predetermined date and time. The Court should

follow the artisan’s viewpoint.


                        2.     a data transfer line

         Defendants propose to construe four words (“a data transfer line”) as the

following

                A wire operatively connected to a modem associated with a
                call rating device on one end and a phone network on the
                other.

(Def. Br. 32) Defendants’ analysis consists of arguing that their construction “merely

specifies what is already in the claim language.” (Def. Br. 32)(emphasis added)

Yet perplexingly, except for the word “a,” 15 none of the words Defendants propose are

already in the claim language being construed! Defendants’ “construction” is merely a

thinly veiled attempt to import additional and superfluous claim limitations into an

element that plainly does not contain them.




15
     Again, “a” means one or more.


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        Defendants’ proposed construction conflicts with numerous claim construction

doctrines, such as claim differentiation. Defendants’ construction would import into

independent claim 1 the limitations in dependent claim 2, which reads:

                 The method according to claim 1 wherein the step of
                 connecting via a data transfer line includes the step of
                 connecting the call rating device to a telephone network via
                 a modem and calling the rate provider.

Defendants’ proposed construction is thus impermissible. RF Delaware, 326 F.3d at 1264

(reversing for importing words from dependant claim into the claim from which it

depends).

        Defendants’ importation of the limitation of a physical “wire” is likewise without

basis: the word “wire” never appears in any of the claims or the specification! And, as

Mr. Walton recognized, the specification describes various communication paths. (Walton

42, citing Col. 3:44-49)

        Defendants having provided scant and misleading analysis for a legally

impermissible construction, RTI requests that this Court adopt the construction as

understood through the viewpoint of a person having ordinary skill in the art: a data

transfer line.


                        3.      call rating device

        Here, Defendants doubly err, proposing to impose 35 U.S.C. § 112(f) onto the

language and, as above, import language that they have created.

        As to Section 112(f), the word “means” is not to be found and, thus, a

presumption exists that the statute does not govern. That presumption is not easily

overcome. See Lighting World, Inc. v. Birchwood Lighting, Inc., 382 F.3d 1354, 1358




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(Fed.Cir. 2004) (“Our cases make clear . . . that the presumption flowing from the

absence of the term ‘means’ is a strong one that is not readily overcome.”)

       That presumption is not overcome when the term as used in the claim (1) does

not — as here — have an associated function or (2) when it provides some structure.

Rodime, 174 F.3d at 1302. See Flo Healthcare, 697 F.3d at 1374 (Federal Circuit is

“unwilling to apply” the means-plus-function provision “without a showing that the

limitation essentially is devoid of anything that can be construed as structure.”)

       Reviewing the disputed claim language, Defendants cite no claimed function

corresponding to “call rating device;” and there is none. Thus, for this reason alone,

Section 112(f) does not govern here. See Rodime, 174 F.3d at 1302. (“a claim element

that uses the word ‘means’ but recites no function corresponding to the means does not

invoke § 112, ¶ 6.”)

       Further, the term provides structure known to a person having ordinary skill in the

art. Defendants claim that before the invention of the ‘769 Patent no call rating device

existed. Yet, just as Mr. Walton confirms that such devices were known, the ‘769 Patent

specification explains that call rating devices were known, and identifies, for example,

the invention in the earlier filed ‘085 Patent as a call rating device. (Col. 1:25-32)

       Other more primitive call rating devices also existed, including those cited by

Defendants. Specifically, Defendants cite to prosecution history of the ‘085 Patent that

described more primitive call rating devices. (Def. Br. 28, citing A-291, A-305-306)

While those prior art call rating devices do not include the claimed remaining limitations

in either the ‘085 or ‘769 Patents (e.g., least cost routing or the claimed updating),

devices certainly existed that rated calls in some way, just not the claimed way. Thus, as




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shown in the specification, prosecution history, and expert testimony, the artisan

understood a call rating device as having structure. (Walton 43) Thus, for this second,

independent reason, the presumption that 35 U.S.C. § 112(f) does not govern is not

overcome.

         Defendants’ proposed construction also imports words with no known origin or

reason. With no citation or origin, no one can understand what Defendants mean by its

words. Some of these words appear fragmented in the claims elsewhere, which would

add redundancy and should be avoided. And, what Defendants mean by “an identifiable

physical component,” “incorporating the rate information,” or “managing calls” — none

of which appears in the claims, specification, prosecution history, prior art, or any

expert’s knowledge — is a complete mystery. 16

         As such, this Court should decline to read made-up limitations into call rating

device. Instead, RTI requests this Court apply the construction from the viewpoint of a

person having ordinary skill in the art: call rating device.


                        4.     transmitting over the data transfer line

         Again, Defendants’ arguments are not comprehensible. Defendants claim that

“RTI’s proposed construction is unlimited by the terms of the claims . . .” (Def. Br. 33)

yet the only terms RTI proposes is the identical language used in the claim — it is, thus,

precisely limited by the claim, no broader, no narrower. These words are precise and clear

to a person having ordinary skill in the art. (Walton 33)


16
  Do these words have significance to the accused device? Such a mysterious
construction underscores that claim construction without the needed discovery providing
context of the accused device is premature, and should be avoided as an abstract exercise,
doomed to be repeated. See Section I.


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        Again, Defendants proceed to import their own made up words, having no origin,

which breed confusion, ambiguity, and redundancy. Defendants’ word “wire,” as

discussed above, never appears anywhere in the claims or specification. Nor does

“conveying,” whatever that means. And such a word is certainly, in the context of this art,

less precise than the claimed and described “transmitting.”

        Finally, Defendants seem to argue that because the word “the” precedes “data

transfer line,” the claim is limited to a single data transfer line. But, “the use of a definite

article (‘said’ or ‘the’) to refer back to an initial indefinite article does not implicate, let

alone mandate the singular.” Baldwin, 512 F.3d at 1342-43. As explained elsewhere, “the

articles ‘a’ and ‘the’ do not suggest singularity.” Free Motion Fitness, 423 F.3d at 1350;

see 01 Communique, 687 F.3d at 1299 (construing a location facility as “may be

distributed among one or more locator server computers”).

        Indeed, none of Defendants’ proposed words are of any help. Thus, RTI requests

that this Court apply the construction from the viewpoint of a person having ordinary

skill in the art: transmitting over the data transfer line.


                        5.       indicia identifying the call rating device and
                                 the date and time of the last update of the
                                 billing rate parameters

        As to this language, Defendants have “agreed” with RTI’s construction. (Def. Br.

34) Thus, RTI requests this court adopt RTI’s proposed construction: indicia identifying

the call rating device and the date and time of the last update of the billing rate

parameters.




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                       6.      verifying if billing rate parameters should be
                               updated

       Here, Defendants, again, improperly attempt to import words into the claims.

Specifically, Defendants impose the unnecessary restriction that this step “must be done

by the rate provider and not the call-rating device.” (Def. Br. 34) Such a construction

conflicts with the specification, which never states that the rate provider must execute this

step. Indeed, the claim and specification allow for either arrangement.

       Defendants rely on the claim phrases “connecting” and “transmitting” as requiring

that the rate provider handle verifying. But, just as connecting at a predetermined date

and time allows for multiple components to handle it, so does the verifying step:

               MediaCom insists that, as a matter of logic and grammar,
               the phrase “predetermined time and date” requires that this
               Court identify by whom the time and date are
               predetermined. MediaCom contends that the rate provider,
               and not the individual user, must perform that function.
               Rates responds that the claim need not and does not
               identify who must determine the time and date of the
               connection, but rather allows a variety of arrangements.

MediaCom, 4 F.Supp.2d at 31. The court held, “[t]he language does not require that the

person responsible for that selection be identified in order to give meaning to the claim.”

While not binding, the court’s reasoning on this point is sound. Thus, the same is true for

the verifying step.

       Thus, RTI requests this court adopt RTI’s proposed construction: verifying if

billing rate parameters should be updated.


                       7.      transmitting from the rate provider to the
                               call rating device

       Defendants here merely incorporate the same reasoning as just discussed.




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       Thus, RTI requests this court adopt RTI’s proposed construction: transmitting

from the rate provider to the call rating device.


                                     CONCLUSION

       For the foregoing reasons, RTI requests that this Court defer claim construction

until RTI is provided with sufficient discovery to understand the operation of Defendants’

accused system, or alternatively, construe the above disputed claim language as proposed

by RTI.


                                                Respectfully Submitted,
Dated: November 18, 2013                        SPRINGUT LAW PC
New York, New York



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